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                         UNITED STATES DISTRICT COURT

                        WESTERN DISTRICT OF LOUISIANA

                               LAFAYETTE DIVISION

  UNITED STATES OF AMERICA               * CRIMINAL NO: 6:23-cr-00205-05
                                         *
  VERSUS                                 * JUDGE SUMMERHAYS
                                         *
  DREKEYLONE PETERS                      * MAGISTRATE JUDGE WHITEHURST

            UNITED STATES’ RESPONSE IN OPPOSITION TO
        DEFENDANT’S OBJECTION TO THE MEMORANDUM ORDER
         (REC. DOC. 112) AND MOTION TO CLARIFY RULING, AND
                 ALTERNATIVE REQUEST FOR RELIEF

        NOW INTO COURT, comes the UNITED STATES OF AMERICA, by and

  through the undersigned Assistant United States Attorney, who, respectfully files

  this response in opposition to the Defendant’s Objection to the Memorandum Order

  regarding the Court’s ruling on the Defendant’s Rule 12(b)(4)(B) motion for notice of

  government’s intent to use evidence discoverable under Rule 16 [Doc. 114]. For the

  reasons stated below, the Defendant’s objection and motion should be denied.

               I.    PROCEDURAL AND FACTUAL BACKGROUND

        On August 23, 2023, a sixteen count Indictment was returned by the federal

  grand jury sitting in Shreveport, Louisiana, charging seven defendants, including

  PETERS, with multiple counts of conspiracy to distribute and possess with intent to

  distribute controlled substances; distribution of controlled substances; possession

  with the intent to distribute controlled substances; possession of a firearm in

  furtherance of a drug trafficking crime; and maintaining a drug involved premises,


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  all in violation of title 21 U.S.C. sections 841(a)(1), 846, and 856(a)(1); and title 18

  U.S.C. section 924(c). [Doc. 1]. On September 27, 2023, the last defendant made his

  Initial Appearance before this Court. 1


             On September 28, 2023, PETERS filed a motion seeking, pursuant to Federal

  Rule of Criminal Procedure 12(b)(4)(B), notice of the government’s intent to use any

  evidence discoverable under Rule 16 of the Federal Rules of Criminal Procedure.

  Consistent with the purpose of Rule 12, PETERS indicated he made the motion to

  have “an opportunity to move to suppress evidence” in advance of trial. [Doc. 91]. On

  October 10, 2023, the government filed an opposition to PETERS’ motion, arguing

  that PETERS request was beyond the scope of what was contemplated in Rule 12,

  the government was in compliance with the Court’s Scheduling Order, and PETERS

  had not yet received discovery at the time of the filing of his motion. [Doc. 107]. On

  October 17, 2023, Magistrate Judge Carol Whitehurst agreed with the government

  and denied PETERS’ motion. [Doc. 112]. On October 18, 2023, PETERS filed the

  aforementioned objection to the ruling, asking this Court to reconsider the original

  request and offers an alternative “moderate approach.” [Doc. 114]. Citing Fed. R.

  Crim. P. 12(b)(4)(B), PETERS seeks an order requiring the government to provide

  “notice of the government's intent to use (in its evidence-in-chief at trial) any evidence

  that the defendant may be entitled to discover under Rule 16.” Because PETERS

  misinterprets Rules 12 and 16, and has failed to trigger the notice requirements of

  Rule 12(b)(4)(B), his motion should be denied.


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      As of this filing, initial discovery has been provided in this case.

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                             II. LAW AND ARGUEMENT

        Rule 12(b)(4)(B) of the Federal Rules of Criminal Procedure states that “the

  defendant may, in order to have an opportunity to move to suppress evidence under

  Rule 12(b)(3)(C), request notice of the government's intent to use (in its evidence-in-

  chief at trial) any evidence that the defendant may be entitled to discover under Rule

  16.” Rule 12(b)(4)(B) does require the government to “respond to a defendant's request

  for notice whether the government intends to offer specific evidence that the request

  identifies.” United States v. Ishak, 277 F.R.D. 156, 159 (E.D.VA. 2011)(emphasis

  added). However, “[i]n order to trigger a notice obligation, the defendant's request

  must identify potentially suppressive evidence with specificity.” Id. Although “Rule

  12 requires that the government disclose certain evidence to a defendant … the task

  of identifying what evidence discoverable under Rule 16 might be the rightful object

  of a suppression motion belongs to that defendant.” Id. Of course, to avoid the filing

  of a motion to suppress evidence the government does not intend to use, if the

  defendant flags potentially suppressible evidence, the rule requires the government

  to disclose whether it intends to offer the “specified evidence” during its case-in-chief.

  Id.; see also United States v. Smith, 277 Fed. Appx. 187, 191 (3d Cir. 2008). But the

  onus is on the defendant to identify such evidence and make the specific request of

  the government. Unless and until the defendant satisfies this initial requirement,

  there is no basis for the Court to order the government to provide notice under Rule

  12(b)(4)(B).



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         The relief sought by the Defendant, seeking the Court to order the government

  to identify all the evidence it intends to offer in its case-in-chief at trial, is also not

  proper under Fed. R. Crim. P. 16. In Rule 16, it describes the materials that both the

  government and a defendant must disclose after a criminal case is commenced. Rule

  16(a)–(b). When a party fails to comply with its disclosure obligations, “the court

  may,” inter alia, “order that party to permit the discovery” requested. Rule 16(d)(2).

  Even then, the district court is not required to do so, and is afforded “wide discretion”

  in determining whether to take action under Rule 16(d). United States v. Gray-

  Burriss, 791 F.3d 50, 55 (D.C. Cir. 2015). Rule 16 clearly contains no requirement

  consistent with the relief sought by PETERS. In any event, pursuant to the Court's

  Scheduling Order, PETERS will be provided a list of exhibits that the government

  intends to offer at trial.

         Additionally, the PETERS’ suggested “moderate approach” is not necessary in

  the present case. In his motion, PETERS argues that a “moderate and proper

  application of Rules 12 and 16 will streamline the suppression process and will help

  guarantee a fair trial.” [Doc. 114]. PETERS relies on a ruling and language in United

  States v. Warnagiris, (Criminal 21-00382) (PLF) (D.D.C. Sept. 21, 2023); however,

  PETERS misinterprets and misapplies Warnagiris. In Warnagiris, the defendant was

  charged with multiple felonies related to the events at the U.S. Capitol on January

  6, 2021. Id. In advance of a bench trial set for November 8, 2023, the defendant filed

  a motion for the government to identify the evidence it intended to use at trial

  pursuant to Rule 12(4)(B) in advance of October 7, 2023, the date in which the parties



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  were to exchange trial exhibit lists. Id. The district court, recognizing that the

  discovery contained an enormous volume of material including 30,634 videos and

  7,681,038 digital images, ordered that the government identify with specificity the

  items of evidence it intended to use in its case-in-chief by September 29, 2023. Id. In

  doing so, the district court relied on United States v. Anderson, 416 F. Supp. 2d 110,

  112 (D.D.C. 2006), a complex tax case that involved hundreds of boxes of physical

  files and “hundreds of thousands of pages of documents of potential relevance.” Id.

        The concerns of fairness raised due to the volume of discovery by those D.C.

  courts are not present here. The government in the present case has far exceeded its

  obligations under Rule 16, as the United States has put defendants on notice of all of

  the evidence that may be introduced at trial. The government has provided

  information and materials to the defense in organized and accessible formats, which

  has included an index with the discovery production. The index outlines the contents

  of the electronic discovery and is easily searchable. The United States has provided,

  and will continue to provide, all discoverable materials within the United States’

  possession. Moreover, the United States will give proper notice as in accordance with

  the Court’s scheduling order whether it intends to use any relevant evidence under

  404(b) during its case-in-chief.

        Regardless of the approach taken, many courts have routinely held that Rule

  12(b)(4)(B) does not require the government to disclose a list of all of the evidence that

  it plans to use in its case-in-chief. United States v. Lujan, 530 F. Supp. 2d 1224, 1245-

  46 (D.N.M. 2008) (“interpreting Rule 12(b)(4)(B) as requiring the government to file



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  an exhibit list expands the rule too far.”); United States v. Bunch, 2009 WL 4784637,

  at 2 (E.D. Tenn. Dec. 8, 2009) (“Rule 12 does not required the government to disclose

  a list of all the evidence that it plans to use in its case-in-chief”); United States v. El-

  Silimy, 228 F.R.D. 52, 57 (D. Me. 2005) (“[Rule 12(b)(4)(B)] is not intended to all ow

  a defendant to force the government to decide precisely which documents provided in

  discovery it will offer at trial”).

                                        III. CONCLUSION

         Defendant's reliance on Rules 12(b)(4)(B) and 16 are misplaced. The

  Defendant expands the scope of the rules, and his notice requests lacks the required

  specificity to trigger a response. As such his motion should be denied.



                                              Respectfully submitted,


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